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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,
                      Plaintiffs,
        v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                   CASE NO. 1:20-CV-484-LO-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
                      Defendants.

  800 HOYT LLC,
               Intervening Interpleader
               Plaintiff / Intervening
               Interpleader Counter-
               Defendant,
        v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS; LLC,
               Interpleader Defendants,
        and
  AMAZON.COM, INC., and AMAZON
  DATA SERVICES, INC.,
               Interpleader Defendants /
               Interpleader Counter-Plaintiffs.

                   RULE 26(f) JOINT PROPOSED DISCOVERY PLAN

        Plaintiffs/Interpleader Defendants/Interpleader Counter-Plaintiffs, Amazon.com, Inc. and

  Amazon Data Services, Inc. (“Amazon”), Defendants/Interpleader Defendants WDC Holdings
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  LLC and Brian Watson, Defendants Sterling NCP FF, LLC, Manassas NCP FF, LLC, NSIPI

  Administrative Manager, and Interpleader Defendant BW Holdings, LLC (collectively, “Watson

  Defendants”), Defendant Casey Kirschner, and Defendants Carleton Nelson and Cheshire

  Ventures (collectively, the “Nelson Defendants”) (Watson Defendants, Casey Kirschner, and

  Nelson Defendants collectively referred to as “Defendants”),1 and Intervening Interpleader

  Plaintiff/Intervening Interpleader Counter-Defendant 800 Hoyt LLC (“Intervenor”) by and

  through the undersigned counsel, respectfully submit the following Rule 26(f) Joint Proposed

  Discovery Plan in accordance with this Court’s Scheduling Order dated November 12, 2021:

  1.         Rule 26(f) Conference

             Amazon, Defendants and Intervenor (collectively, the “Parties”) held their Rule 26(f)

  conference on November 22, 2021 and November 30, 2021. During the conference the Parties

  considered claims, defenses, possibilities of a prompt settlement or resolution of the case, arranged

  for disclosures as required by Rule 26(a)(1), and worked together to develop a discovery plan with

  a view to completing fact discovery by the Court-ordered deadline of April 8, 2021.

  2.         Settlement Potential

             The Parties have engaged in settlement discussions and remain amenable to continuing

  them but do not believe that a settlement is likely at this time. The Parties may seek a settlement

  conference and/or engage in a private mediation at a later date.

  3.         Initial Disclosures

             The Parties agreed to exchange initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) by

  December 3, 2021, and have done so as of the filing of this Discovery Plan, reserving all rights as

  to the adequacy of each Party’s disclosures.


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             The Clerk of the Court entered the default of AllCore Development LLC and Finbrit Holdings on October
       22, 2021 and NOVA WPC LLC, White Peaks Capital LLC, and Villanova Trust on December 8, 2021.

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  4.     Expert Disclosures

         The Parties agree that all communications between the party’s attorney and any expert,

  including draft reports and regardless of the form of communications, shall be protected from

  disclosure.

         In the interests of ensuring that the Parties adhere to the schedules and deadlines set by

  the Court, the Parties have tentatively agreed to provide each other with the subject matter of

  expert testimony on which each party submit an expert opinion.

         The Parties have been unable to reach an agreement on the scheduling of expert

  disclosures and respectfully submit their separate positions for the Court’s consideration:

         Amazon’s Position: The Court’s scheduling order calls for fact discovery to close on

  April 8, 2022, but does not address dates for expert disclosures and discovery. Pursuant to

  Local Civ. R. 26(D)(1), and in light of the information Amazon expects to receive through the

  end of fact discovery, Amazon submits that expert disclosures should be made promptly after the

  close of fact discovery to allow the Parties and their experts sufficient time to incorporate all

  facts relevant to their expert reports. Accordingly, Amazon requests that the close of fact

  discovery be moved up to accommodate expert discovery and that the Court enter the following

  deadlines for such expert disclosures, with minor adjustments to the end of fact discovery:

                 End of Fact Discovery                   Mach 30, 2022

                 Initial expert disclosures              April 13, 2022

                 Rebuttal disclosures                    April 22, 2022

                 Expert depositions                      Week of April 25, 2022

         Watson Defendants’ Position: Pursuant to the Court’s Scheduling Order dated November

  12, 2021 (“Scheduling Order”), the Parties shall complete discovery by April 8, 2022, the Final



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  Pretrial Conference is scheduled for April 15, 2022, and trial will be set for a day certain, within

  4-8 weeks of the final pretrial conference. This case was filed on April 27, 2020, more than one

  and a half years ago, and the Watson Defendants are eager to proceed with this case. The

  Watson Defendants do not think a six-plus month delay of the final pretrial conference is

  appropriate. The Watson Defendants understand an expedited expert disclosure deadline

  schedule may be appropriate. The Watson Defendants propose the following dates to align with

  the Court’s current Scheduling Order:

         Fact Discovery Cut-off:        March 11, 2022

         Expert Disclosures:            March 18, 2022

         Rebuttal Disclosures:          April 8, 2022

         Nelson Defendants’ Position: The Nelson Defendants agree with the Watson Defendants’

  position and urge the Court not to adopt the Plaintiff’s schedule.

         800 Hoyt’s Position: 800 Hoyt will follow the schedule adopted by the Court and does

  not object to the schedule proposed by Amazon or Watson Defendants.

  5.     Summary Judgment Briefing

         The Parties have also been unable to reach an agreement on the scheduling of summary

  judgment briefing and respectfully submit their separate positions for the Court’s consideration:

         Amazon’s Position: Amazon submits that several issues in the case can be decided

  through summary judgment, and respectfully requests that the Court enter the following

  deadlines for such briefing and resolution, all to occur after expert discovery and any associated

  briefing, and in advance of trial because summary judgment may resolve or narrow issues that

  would affect trial scope and schedule.

         Summary judgment motions due           May 6, 2022



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         Summary judgment responses due         May 20, 2022

         Summary judgment replies due           May 26, 2022

         Watson Defendants’ Position: The Watson Defendants have concerns regarding the

  untimeliness of Amazon’s proposed Summary Judgment Briefing Schedule, similar to those raised

  by Watson Defendants’ in response to Amazon’s proposed expert disclosures schedule. The

  Watson Defendants are eager to proceed with this case as set forth by this Court in the Scheduling

  Order. The Watson Defendants do not believe the claims asserted in the operative complaint are

  appropriate for summary judgment and certainly do not believe a three month briefing schedule or

  over six month delay of the pretrial conference are appropriate for a case that has been pending

  before this Court for over one and a half years. The Watson Defendants understand an expedited

  summary judgment briefing schedule may be appropriate as outlined below:

         Summary Judgment Motions Due:                  April 15, 2022

         Summary Judgment Responses Due:                April 29, 2022

         Summary Judgement Replies Due:                 May 6, 2022

         Nelson Defendants’ Position: The Nelson Defendants agree with the Watson Defendants’

  position and urge the Court not to adopt the Plaintiff’s schedule, as this case does not present

  issues that are likely to be resolved in summary judgment, especially given that the Plaintiffs

  have alleged criminal conduct and the Defendants deny such conduct.

         800 Hoyt’s Position: 800 Hoyt will follow the schedule adopted by the Court and does

  not object to the schedule proposed by Amazon or Watson Defendants.

  6.     Final Pretrial Hearing

         The Court’s scheduling order contemplates a final pretrial hearing of April 15, 2022. In

  light of Amazon’s proposed changes to the schedule to accommodate expert discovery and



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  summary judgment briefing relevant to the pre-trial conference and issues for trial, the Parties

  discussed a joint proposal for modest adjustments to the pretrial hearing date, but were not able to

  reach an agreement and respectfully submit their separate positions for the Court’s consideration:

         Amazon’s Position: In light of the proposed expert and summary judgment schedules

  above, Amazon respectfully requests a postponement of the pre-trial hearing until after the Court

  has decided summary judgment, or at least until May 27, 2022 to allow the parties to complete

  expert discovery and summary judgment briefing that will inform issues for trial.

         Watson Defendants’ Position: The Watson Defendants would like to proceed with the Final

  Pretrial Conference as scheduled for April 15, 2022. The Watsons Defendants are eager to proceed

  with this case and reach a resolution on the merits. As the Parties proceed with discovery, the

  Watson Defendants understand one or more Parties may need an extension of the discovery cut-

  off and the Watson Defendants are amenable to requesting an extension at that time, but the

  Watson Defendants do not believe an extension is appropriate at this time.

         It is also the Watson Defendants’ understanding that the Court will set the case for trial at

  the Final Pretrial Conference and that a trial date determines when summary judgement briefing

  is due. The Watson Defendants do not believe that the claims asserted in this case are appropriate

  for summary judgement, and they certainly do not think it is appropriate to postpone the final

  pretrial conference until after the summary judgment issues have been decided.

         Nelson Defendants’ Position: The Nelson Defendants agree with the Watson Defendants’

  position and believe the Final Pretrial Conference should remain on the date previously set by

  the Court.

         800 Hoyt’s Position: 800 Hoyt will follow the schedule adopted by the Court and does

  not object to the schedule proposed by Amazon or Watson Defendants.



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  7.     Joinder of Parties

         At this time, the Parties do not anticipate joinder of additional parties. However, the Parties

  reserve the right to move the Court for leave to join additional parties should subsequent

  circumstances warrant it.

  8.     Amendment of Pleadings

         At this time, the Parties do not anticipate amendment of pleadings but reserve the right to

  move the Court for leave to amend should subsequent circumstances warrant it.

  9.     Preservation of Discoverable Information

         The Parties understand the importance of preserving discoverable information. The Parties

  have each represented that they have taken reasonable steps to preserve all such information. The

  Parties reserve all rights related to each Party’s preservation of discoverable information.

  10.    Electronically Stored Information

         The Parties agree to work in good faith to coordinate the form and manner of production

  of electronically stored information. To that end, the Parties are in the process of negotiating an

  ESI protocol to govern ESI productions.

  11.    Protective Order and Non-Waiver of Attorney-Client Privilege and Work Product

  Protection

         The Parties believe this issue has been addressed by the protective order the Court entered

  in the case on June 4, 2020 (Dkt. 55), which governs the procedures for clawing back privileged

  information that was inadvertently produced. Should additional protections be warranted in the

  future, the Parties agree to work together to present a revised stipulated order for the Court’s

  consideration.




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  12.    Magistrate Judge

         The Parties have conferred and do not agree to try this matter in front of a United States

  Magistrate Judge at this time.

  13.    Subjects of Discovery

         Amazon’s Position: The Parties discussed the claims and defenses in the case. Plaintiffs’

  position is that its claims are set forth in the Second Amended Complaint. Plaintiffs asked

  Defendants’ counsel to provide additional detail on the basis for their affirmative defenses, which

  are listed in their answers seriatim without any supporting factual allegations.

         Watson Defendants’ Position: The Watson Defendants discussed the claims and defenses

  asserted in this case. The Watson Defendants categorically deny Amazon’s claims as set forth in

  their Answer to the operative complaint and deny that Amazon is entitled to any relief. The Watson

  Defendants expect discovery concerning Amazon’s allegations, the Intervenor’s allegations,

  affirmative defenses, and any counterclaims or crossclaims that may be asserted.

         Nelson Defendants’ Position: The Nelson Defendants discussed the claims and defenses

  asserted in this case. The Nelson Defendants categorically deny Amazon’s claims as set forth in

  their Answer to the operative complaint and deny that Amazon is entitled to any relief. The Nelson

  Defendants expect to receive discovery concerning Amazon’s allegations and their affirmative

  defenses.

         800 Hoyt’s Position: Intervening Interpleader Plaintiff 800 Hoyt LLC (“800 Hoyt”) is an

  interpleader stakeholder in this matter and has set forth its claims in the Interpleader Complaint of

  Intervenor. 800 Hoyt expects discovery concerning the interpleader matter will concern the

  Interpleader Funds (as defined in the Interpleader Complaint of Intervenor) and the counterclaims,

  crossclaims, or defenses of interpleader defendants, if any.



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  14.    Discovery Limitations

         The Parties do not propose any other discovery limitations that are not set forth in this

  proposed discovery plan or already provided for by the Federal Rules of Civil Procedure, the Local

  Civil Rules, and this Court’s November 12, 2021 Order. The Parties further agree that discovery

  need not be conducted in phases or be focused on particular issues.

  15.    Fact Depositions

         The Court’s scheduling order limits non-party fact depositions to five per party, excluding

  any expert witnesses. The Parties believe that this limitation may prove difficult given the

  allegations in the Complaint and the involvement of many non-parties to the transaction at issue.

  Because there are several witnesses that most if not all of the Parties want to depose, however, the

  Parties intend to work together to coordinate depositions of non-parties, with the intent of

  remaining under the total limit set by the Court, but with the understanding that a Party may need

  to take more than five depositions of non-party fact witnesses. If that situation arises, the Parties

  will inform the Court and cooperate in moving for an enlargement of that limitation. The Parties

  are in the process of negotiating a deposition protocol to govern how depositions will be scheduled

  and conducted.

  16.    Serving and Filing Pleadings

         Service and filing of pleadings in this case shall adhere to the United States District Court

  for the Eastern District of Virginia Electronic Case Filing policies and procedures.

         Pursuant to Fed. R. Civ. P. 5(b)(2)(E), the Parties agree that service of notices of deposition,

  discovery requests and other such papers not required to be filed with the Clerk of Court will be

  accepted by electronic means (“e-mail”), and that service of notices of deposition, discovery

  requests and other such papers not required to be filed with the Clerk of Court is complete upon



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   and on the day of transmission up to and including 11:59 P.M. (in which case the three additional

   days provided by Fed R. Civ. P. 6(d) shall not apply; service is treated as if delivered by hand on

   the date of the e-mail transmission). Any attachments to discovery, deposition notices or other

   papers not filed with the Clerk of Court shall either be e-mailed or sent via an electronic file share

   service simultaneously unless the Parties expressly agree to additional time. If the attachments are

   too voluminous to send via e-mail or cannot be sent by an electronic file share service, they shall

   be sent via messenger or overnight delivery on the same day as the e-mail transmission. In such

   case and notwithstanding the earlier receipt of the partial filing, service will not be effective until

   receipt of the attachments by the other party. The Parties also agree and acknowledge, pursuant

   to Fed. R. Civ. P. 5(b)(2)(E), that service by e-mail is not effective if the party making service

   receives any type of communication that the document(s) being served was not received by the

   intended recipient. In such a case, service must be made as soon as practicable after receipt of

   such communication, by messenger or overnight mail and shall be considered effective upon

   receipt by either method.

   17.    Disclosure or Discovery of Electronically Stored Information

          The Parties discussed discovery of electronically stored information (“ESI”) and agreed

   that they will cooperate in the exchange of ESI in a reasonable manner to mitigate the burden and

   expense of production. The Parties are in the process of negotiating an ESI Protocol to govern the

   production of ESI by all Parties to propose to the Court.

   18.    Claims of Privilege or Protection of Trial Preparation Materials

          If a privilege or privileges are asserted as to any information requested in discovery, the

   party asserting privilege shall specify the legal basis for such assertion and identify sufficient facts

   giving rise to any alleged claim of privilege. The party asserting privilege shall identify any



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   information, document, or other material (collectively, “material”) for which any privilege is

   asserted by means of production of a Privilege Log. For all material identified in the Privilege

   Log, the asserting party shall identify the date, author or generator, persons shown as having been

   or otherwise known as having been a recipient of the material, and any other information sufficient

   to establish the applicability of the privilege asserted. No party will be required to log any

   communications between a party and its counsel made in relation to this litigation if such

   documents were generated on or after December 2, 2019.

   19.    Preservation of Discoverable Information

          The Parties have addressed the matter of preservation of discoverable information, and the

   Parties have each represented that they are taking reasonable steps to preserve all such information.

   20.    Completion of Discovery

          The Parties understand that fact discovery must be completed by April 8, 2022, pursuant

   to this Court’s Order dated November 12, 2021 order. Per Paragraphs 4 and 5 above, Amazon

   respectfully requests that fact discovery end on March 30, 2022, to accommodate expert

   discovery and summary judgment motions.

   21.    Receiver Issues

          The Parties agree to provide the Receiver with copies of all discovery they produce or

   receive in connection with this action at the same time each Party serves such discovery or, with

   respect to third-party productions or other discovery each Party receives, to provide it to the

   Receiver as promptly as possible after receipt.




   Dated: December 8, 2021               Respectfully submitted,

                                         s/ Michael R. Dziuban


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                                      CERTIFICATE OF SERVICE

          I hereby certify that on December 8, 2021, I will electronically file the foregoing with the

   Clerk of Court using the CM/ECF system. I will send then send the document and a notification

   of such filing (NEF) to the following parties via U.S. mail to their last-known address and by email,

   where noted:

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